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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                      AIKEN DIVISION
CENTRAL MUTUAL INSURANCE       )                       Civil Action No. 1:21-cv-00469-JMC
COMPANY, AS SUBROGEE OF BRENDA )
WYATT,                         )
                               )
          Plaintiff,           )
                               )                     THERMA-STOR LLC’S ANSWER TO
     vs.                       )                     SECOND AMENDED ANSWER AND
                               )                      CROSS-CLAIM OF DEFENDANT
RESIDEO TECHNOLOGIES, INC.,    )                      RESIDEO TECHNOLOGIES, INC.
THERMA-STOR, LLC, AND REGAL    )
BELOIT CORPORATION,            )
                               )
          Defendants.          )
                               )

       Defendant Therma-Stor, LLC (“Therma-Stor”), by its attorneys, Parker Poe Adams &

Bernstein LLP, by Robert H. Jordan, and Axley Brynelson, LLP, by Brian C. Hough and Justin H.

Lessner, hereby answers the Second Amended Answer and Cross-Claim (“Cross-Claim”) of

Resideo Technologies, Inc. (“Resideo”) as follows:

                                           ANSWER

       1.      Answering Paragraph 63 of the Cross-Claim of Cross-Claimant, Defendant

Resideo, Therma-Stor LLC asserts that Paragraph 63 does not state an allegation to which a

responsive pleading can be asserted. To the extent a responsive pleading is required, Therma-Stor

denies the allegations.

       2.      Answering Paragraph 64 of the Cross-Claim of Cross-Claimant, Defendant

Resideo, the allegations are legal conclusions to which no responsive pleading is required. To the

extent a responsive pleading is required, Therma-Stor denies the allegations.

       3.      Answering Paragraph 65 of the Cross-Claim of Cross-Claimant, Defendant

Resideo, Therma-Stor LLC denies the allegations.
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          4.     Answering Paragraph 66 of the Cross-Claim of Cross-Claimant, Defendant

Resideo, the allegation does not require a responsive pleading. To the extent a responsive pleading

is required, Therma-Stor denies the allegations.

          5.     Answering Paragraph 67 of the Cross-Claim of Cross-Claimant, Defendant

Resideo, Therma-Stor LLC denies the allegations.

          6.     Answering Paragraph 68 of the Cross-Claim of Cross-Claimant, Defendant

Resideo, Therma-Stor LLC denies the allegations.

          7.     Therma-Stor LLC incorporates by reference the affirmative defenses it asserted in

its Answer to Plaintiff’s Complaint and further asserts the following affirmative defenses in

response to Resideo’s cross-claims:

                                   For a First Affirmative Defense
                                     (Failure to State a Claim)

          Resideo fails to allege facts sufficient to constitute a cause of action upon which relief can

be granted and should be dismissed with prejudice pursuant to Rule 12(b)(6) of the Federal Rules

of Civil Procedure.

                                  For a Second Affirmative Defense
                                          (Unclean Hands)

          Resideo’s claims for equitable relief, such relief is barred in whole or part based on the

unclean hands doctrine.

                                  For a Third Affirmative Defense
                                    (Waiver, Estoppel, Laches)

          Resideo’s claims are barred in whole or part based on the doctrines of waiver, estoppel or

laches.
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                               For a Fourth Affirmative Defense
                                     (Failure to Mitigate)

       Resideo’s claims are barred in whole or part based on Resideo’s failure to mitigate its

alleged damages.

                                For a Fifth Affirmative Defense
                                 (Express terms of a contract)

       Resideo’s claims are barred in whole or part under the express terms of the applicable

contract(s) and/or under the law of contract.

                               For an Sixth Affirmative Defense
                                          (Ripeness)

       Resideo’s equitable claims are barred in whole or part because they are not ripe.

                              For an Seventh Affirmative Defense
                                   (Reservation to Amend)

       As discovery in this case progresses, Therma-Stor reserves its right to amend this answer

and affirmative defenses.

       WHEREFORE, Therma-Stor LLC requests the Court dismiss the Cross-Claims and enter

judgment in favor of Therma-Stor LLC, awarding it its costs and fees, along with such other relief

as the Court deems just and proper.




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                                         Respectfully submitted,

                                         s/ Robert H. Jordan
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                                         ATTORNEYS FOR DEFENDANT
                                         THERMA-STOR, LLC

October 12, 2021.
Charleston, South Carolina
